CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 1 of 10




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CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 2 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 3 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 4 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 5 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 6 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 7 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 8 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 9 of 10
CASE 0:18-cv-01776-JRT-JFD Doc. 1442-48 Filed 08/24/22 Page 10 of 10
